                                  Case 2:18-cv-00847-MSG Document 1 Filed 02/26/18 Page 1 of 11


JS 44 (Rev. 06/17)                                                           CiJ:VIL COVER SHEET                                                                    Q_ .. \ ~ - c_ v - ~ LJ 1
The JS 44 civil cover                            .tion contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rule                           , approved by the Judici~l Conference of the United States in September 1974, is reqmred for the use of the Clerk of Court for the
purpose of initiating t                    sheet. (SEE INSTRUCTIONS Of( NEXT PAGE OF THIS FORM.)

I. (a) PLAINTIFFS                        //     r, "          ,.                                                    DEFENDANTS
                            J)e~t4hll4 rtu/DVtc                                                                                                                      18                      847
    (b) County of Residence ofFirst Listed Plaintiff                                                                County of Residence of First Listed Defendant
                                  (EXCEPT IN US. PLAINTIFF                                                                                          (JN US. PLAINTIFF CASES ONLY)
                                                                                                                    NOTE:     IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                              THE TRACT OF LAND INVOLVED.

                                                                                                                    Attorneys (If Known)




                                                                                                      III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an "X" in One Box/or Plaintiff
                                                                                                              (For Diversity Cases Only)                                                and One Box/or Defendant)
0 1 U.S. Government                             ederal Question                                                                        PTF            DEF                                             PTF      DEF
          Plaintiff                              (US. Government Not a Party)                            Citizen of This State         0 1             0       1   Incoiporated or Principal Place      0 4     0 4
                                                                                                                                                                     of Business In This State

0 2     U.S. Government
                                                . .
                                              Diversity                      I
                                                                                    I                    Citizen of Another State         0 2         0        2   Incoiporated and Principal Place       0 5     0 5
           Defendant                            (Indicate Citizenship ofParties in Item Ill)                                                                          of Business In Another State
                                                                                    'I

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0   120 Marine                       0 310 Aitplane                    0 365 ~ersonal Injury -
0   130 Miller Act                   0 315 Aiiplane Product                    t;>roduct Liability
0   I40 Negotiable Instrument                 Liability                0 367 Health Care/
0   150 Recovery of Ovetpayment      0   320 Assault, Libel &                  ~harrnaceutical
        & Enforcement of Judgment             Slander                        Personal Injury                                                    0 820 Copyrights
0   I51 Medicare Act                 0   330 Federal Employers'              Product Liability                                                  0 830 Patent
0   152 Recovery of Defaulted                 Liability                0 368 Asbestos Personal                                                  0 835 Patent- Abbreviated
        Student Loans                0   340 Marine                           Injury Product                                                               New Drug Application
        (Excludes Veterans)          0   345 Marine Product                   Liability                                                         0 840 Trademark
0   153 Recovery ofOveipayment                Liability                 PERSONAL PROPERTY                                                             1 "'"""•· ' " ' RJ
        of Veteran's Benefits        0   350 Motor Vehicle             0 370 cDther Fraud                0 710 Fair Labor Standards             0   861 HIA (1395ff)
0   160 Stockholders' Suits          0   355 Motor Vehicle             0 371 Truth in Lending                    Act                            0   862 Black Lung (923)
0   190 Other Contract                       Product Liability         0 380 <\)ther Personal            0 720 Labor/Management                 0   863 DIWC/DIWW (405(g))                      Exchange
0   195 Contract Product Liability   0   360 Other Personal                  I!roperty Damage                     Relations                     0   864 SSID Title XVI                   0 890 Other Statutory Actions
0   196 Franchise                            Injury                    0 385 i:rroperty Damage           0   740 Railway Labor Act              0   865 RSI (405(g))                     0 89I Agricultural Acts
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0   210 Land Condemnation            0   440 Other Civil Rights            Habtas Corpus:                0   791 Employee Retirement            0 870 Taxes (U.S. Plaintiff              0 896 Arbitration
0   220 Foreclosure                  0   441 Voting                    0   463 +lien Detainee                    Income Security Act                       or Defendant)                 0 899 Administrative Procedure
0   230 Rent Lease & Ejectrnent      0   442 Employment                0   510 Motions to Vacate                                                0 871 IRS-Third Party                          Act/Review or Appeal of
0   240 Torts to Land                0   443 Housing/                          Sentence                                                                    26 USC 7609                         Agency Decision
0   245 Tort Product Liability               Accommodations            0   530 General                                                                                                   0 950 Constitutionality of
0   290 All Other Real Property      0   445 Amer. w/Disabilities -    0   535 IDeath Penalty                   ;;IMMIGRA:tu11,,                                                               State Statutes
                                             Employment                    Oth~r:                        0 462 Naturalization Application
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      AUSE OF ACTION tR;j,~~~~:;::~t-------------------.!__f.~-----
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VII. REQUESTED IN       CHECK IF THIS IS A CLASS ACTION          CHECK YES only if de in complaint:
     COMPLAINT:         UNDER RULE 23, F.R.C~.P.                 JURY DEMAND:              ONo
VIII. RELATED CASE(S)
                      (See instructions):
      IF ANY                                                 DOCKET NUMBER
                                                                                           'F ATTORNEY OF RECORD
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    RECEIPT#                      AMOUNT                                      APPL YING IFP                                    JUDGE                                     MAG. JUDGE          FEB !! .2ti1t1
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                          Case 2:18-cv-00847-MSG Document 1 Filed 02/26/18 Page 2 of 11

                                  ·--. .                    ·--·~UNITED STATES DISTRICT COURT                                             l   8 \ 847
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FOR THE ~kll'11STRICT\)•: ~, SYU" ~DESIGNATION FORM .. h• ~··by ,.,... to fodi~" ••• n ......, of ... " " ,., ... ,...,....r
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Does this civil action involve a nongovernmental corporate pai;cy with any parent corporation and any publicly held corporation own·
     (Attach two copies of the Disclosure Statement Form in accordance with Fed.R.Civ.P. 7.l(a))

Does this case involve multidistrict litigation possibilities?
RELATED CASE, IF ANY:
Case Number:                                            Judge                                             Date Terminated: _ _ _ _ _ _ ___,._ _~'------------

Civil cases are deemed related when yes is answered to any of the following questions:

I. Is this case related to property included in an earlier numbefed suit pending or within one year previously terminated action in this court?
                                                                                                                                YesD      Noef
2. Does this case involve the same issue of fact or grow out of the same transaction as a prior suit pending or within one year previously terminated'
   action in this court?
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3. Does this case involve the validity or infringement of a patent already in suit or any earlier numbered case pending or within one year previ911sly
      terminated action in this court?                                                                                              YesD        Noifl

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4. Is this case a second or successive habeas corpus, social security appeal, or pro se civil rights case filed by the same individual?
                                                                                                                                    YesD        No~
CNIL: (Place      t/ in ONE CATEGORY ONLY)
A. Federal Question Cases:                                                                                   B. Diversity Jurisdiction Cases:
 1. o Indemnity Contract, Marine Contract, and All Other Contracts                                           1. o Insurance Contract and Other Contracts
 2. o FELA                                                                                                   2. o Airplane Personal Injury
 3. o Jones Act-Personal Injury                                                                              3. o Assault, Defamation
 4. o Antitrust                                                                                              4. o Marine Personal Injury
 5. o Patent                                                                                                 5. o Motor Vehicle Personal Injury
 6. o Labor-Management Relations                                                                             6. o Other Personal Injury (Please specify)
 7. o Civil Rights                                                                                           7. o Products Liability
 8. o Habeas Corpus                                                                                          8. o Products Liability -          Asbestos

 9.    o~curities Act(s) Cases                                                                               9. o All other Diversity Cases
1      o S cial Security Review Cases                                                                                (Please specify)
1lVA         1 other Federal
           ( ease specify)
                                    uestion Cases
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                                                                         ARBITRATION CERTIFICATION
                                                                              (Check Appropriate Category)
I,     -                                                      9ounsel of record do hereby certify:
   o Pursuant to Local Civil Rule 53.2, Section 3(c)(2), that to the best of my knowledge and belief, the damages recoverable in this civil action case exceed the sum of
$150,000.00 exclusive of interest and costs;
   o Relief other than monetary damages is sought.

DATE:
           ---------                                           Attopiey-at-Law                                                          Attorney l.D.#   f EB
                                              NOTE: A trial de novb will be a trial by jury only ifthere has been compliance with F.R.C.P. 38.                  26 2018
I certify that, to my knowledge, the within case is not related to any case now pending or within one year previously terminated action in this court
except as noted above.

DATE:         Q /211     /l. d ti                         ~PvJnit ~~·c
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CN. 609 (5/2012)
                        Case 2:18-cv-00847-MSG Document 1 Filed 02/26/18 Page 3 of 11
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             . ~it'\• ~I".!:             ,~~lN THE UNITED STATES DISTRICT COURT
j              ~, ~~.                   · FORTHE EA.STERN DISTRICT OF PENNSYLVANIA

i¥ 'J!f                                  CASE MANAGE:MENT TRACK DESIGNATION FORM

. Jbai,kq                             h<riic                                      CIVIL ACTION

                                             V.
                                                                   :                       18           847
          hevl&/-d. fi~~sf4t£?trl4~u Ztc                           =              No.                           ·
    In accordance with the Civil Justipe Expense and Delay Reduction Plan ofthis ·court, counsel for
    plaintiff shall complete a Case Management Track Designation Form in all civil cases at the time of
    filing the complaint and serve a copy on all defendants. (See§ 1:03 of the plan set forth on the reverse
    side of this form.) In the event 'that a defendant does not agree with the plaintiff regarding said
    design~ti<;>n, that defendant s~all, tith its first appearance, submi~ to t~e clerk of C011;rt ~d serve on
    the plamtiff and all other parties, a Case Management Track Des1gnat10n Form specrfymg the track
    to which that defendant believes file case should be assigned.
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    SELECT ONE OF THE FOLLQWING CASE MANAGEMENT TRACKS:

    (a) Habeas Corpus - Cases brought under 28 U.S.C. § 2241 through§ 2255.                              ( )

    (b) Social Security - Cases reque~ting review of a decision of the Secretary of Health
        and Human Services denying :Plaintiff Social Security Benefits.                                  ( )

    ( c) Arbitration - Cases required tq be designated for arbitration under Local Civil Rule 53 .2.     ( )

    (d) Asbestos - Cases involving cliums for personal injury or property damage from
        exposure to asbestos.                                                                            (. )

    ( e) Special Management - Cases ~hat do not fall into tracks (a) through (d) that are
         commonly referred to as complex and that need special or intense management by
         the court. ·(See reverse side of this form for a detailed explanation of special
         management cases.)
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    (f) Standard Management- Cases that do not fall into any one of the other tracks.
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                    Case 2:18-cv-00847-MSG Document 1 Filed 02/26/18 Page 4 of 11

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                               i'ii~ INTHE UNITED STATES DISTRICT COURT
                                   FOR THE EAlTERN DISTRICT OF PENNSYLVANIA


        Desanka Filipovic
        Plaintiff,
                      vs.                                                                        18   84.7
        Mercantile Adjustment Bureau, L1,C
        163 Lawrence Bell Dr. Ste 100, Williamsville, I CIVIL ACTION NO.
        NY 14225-1943

                                                                             COMPLAINT

        I.     INTRODUCTION

               1.       This is an action for damages brought by a consumer pursuant to the Fair Debt

        Collection Practices Act, 15 U.S.C. §1692 ("FDCPA").

               2.       The FDCP A prohibits debt collectors from engaging in deceptive and unfair

        practices in the collection of a con~umer debt, including a failure to provide adequate disclosure

        regarding effects of subsequent pa~ment or promise to pay, on otherwise time barred debt, as

        well as making misleading statem6nts regarding status of the debt.

               3.       Defendant is subjedt to strict liability for sending a collection letter, in attempting

        to collect on an alleged debt of which the original creditor is alleged to have been Bank of

        America, N.A. (USA), to the Plaintiff in which it failed to provide any notice of consumer's right

        to debt validation found under FDCPA. 15 U.S.C. §§ 1692 g. See a true and correct copy

        collection letter attached as Exhibit A hereto.

               4.       Defendant, Mercantile Adjustment Bureau, LLC, ("MAB"), is subject to strict

        liability for making false and misleading statements in connection with collection of the debt,

        further delineated below.

        II.    JURISDICTION
            Case 2:18-cv-00847-MSG Document 1 Filed 02/26/18 Page 5 of 11




        5.      Subject matter jurisdiction of this Court arises under 15 U.S.C. §1692k and 28

u.s.c. §1337,
        6.      Defendant regularly conducts business within the Eastern District of Pennsylvania

28 U.S.C. §1391, and the violative communication was dispatched to Plaintiffs mailing address

captioned above, within the   East~tn   District of Pennsylvania.

III.    PARTIES and FDPCA COVERAGE

        7.      Plaintiff, Mrs. Des.ink.a Filipovic, ("Plaintiff') is an adult individual who owns

real property at 20 S 41 st street, Philadelphia, PA, which is also her mailing address.

        8.      Plaintiff is a "consumer" as that term is contemplated under the FDCPA, 15

U.S.C. §1692a(3), as the alleged dbbt sough to be collected from consumer in this instance is

credit card unsecured line of credit used primarily for personal and household expenses.

       9.       Defendant NM& is a "debt collector" within the meaning of the FDCPA 15 U.S.C.

§ 1692a (6), and by own written admissions, as it regularly collects debt on behalf of another.

        10.     Defendant is subjedt to liability as a "debt collector" under the meaning of

FDCPA via respondent superior doctrine, due to engaging, via its ag.ents or employees in regular

debt collection activities, as described in previous paragraph herein.

IV.    STATEMENT OF CLAIM

        11.     On or about Decerriber 14th 2017, Defendant MAB, sent to Plaintiff a dunning

letter, ("the letter"), in attempting to collect on an alleged debt over where the original creditor is

alleged to have been Bank of America, N.A. See a true and correct copy collection letter

attached as Exhibit A hereto.

        12.     This letter is considered a communication from a debt collector to the consumer

and it violates the FDCPA in at several ways to be delineated below:




                                                   2
        Case 2:18-cv-00847-MSG Document 1 Filed 02/26/18 Page 6 of 11




     a. The debt at issue is time barred in that the last payment under this account was made in

        2011, whereby it is beyond the applicable statute of limitations.

     b. Dunning letter invites consumer to make a payment under time barred debt, using

         imperative language in connection with its "offer", that the payment sought "must be

        received by ... " while fai]ing to disclose that due to age of the debt, collection of debt is

        not enforceable in Court.

     c. Dunning letter also apparently invites a consumer to contact its office to "discuss

        alternative arrangements", apparently inviting a payment plan, or another verbatim

        validation or acknowledgment of debt by consumer which again could have the effect of
                                    '
        reviving otherwise time oarred debt.

     d. According to this Circuit's: recent holding in Tatis v. Allied Interstate, LLC, 2018 WL

        818004 (3d Cir. Feb. 12, 2018), and similar holding in other jurisdictions, the letter

        violates the FDCPA.

e. This Defendant never sent the debt validation under § 1692 g.

f.     Letter also violates the FDCP A § 1692 e, by making false or misleading representations

       regarding how Plaintiff debtor could view or inquire about the account. Letter states :

           "We offer on-line correspondence service that will reduce paper consumption and

       may improve your customer experience. Please visit www.mercantilesolutions.com to

       access your account information or make payment(s) on-line. "

g. However an attempt to do exactly what letter directs on Defendant's website, reveals that

       such representation is false and in lieu a message appears leaving no doubt about falsity

       of the letter in this regard as well:




                                                 3
          Case 2:18-cv-00847-MSG Document 1 Filed 02/26/18 Page 7 of 11




                        " Your account is not eligible for online access, please call to speak with a

                        representative .. " See Exhibit B hereto.

         h. The letter violates the lFDCPA according to the ruling in Tatis v. Allied Interstate,

               LLC, 2018 WL 818004 (3d Cir. Feb. 12, 2018).

         13.      Defendant's condu~t was intentional and pervasive and premeditated.

         WHEREFORE, Plaintiff,: Desanka Filipovic, demands judgment against the Defendant

individually and jointly and severally for:

                  (a)      Statutory Damages;

                  (b)      Attorney's fees and costs; and

                  (c)      Actual   dam~ges


                  (c)      Such other and further relief as the Court shall deem just and proper.

V.      . DEMAND FOR JURY TRIAL

         Plaintiff demands a trial by jury as to all issues so triable.




Date:     02/18/2018                                           redrag Filipovic.Esq. (029312011)
                                                          Attorney for Plaintiff
                                                          PREDRAG FILIPOVIC
                                                          1735 Market St.Ste 3750
                                                          Philadelphia, PA 19103




Enclosures: Exhibit A, B;




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Case 2:18-cv-00847-MSG Document 1 Filed 02/26/18 Page 8 of 11




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                  Case 2:18-cv-00847-MSG Document 1 Filed 02/26/18 Page 9 of 11

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                                                                                                              Innovative Solutions, Exceptional Results

                                                                                                    165 Lawrence Bell Drive, Suite 100
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                                                                                                                        1-888-481-4348
                                                                                    Please send payment or correspondence to:
                                                                                                 Mercantile Adjustment Bureau, LLC
                                                                                                                       PO Box 9055
                                                                                                       Williamsville NY 14231-9055
       ____________________ _P_L§:~~E_QE_T~g8 ~~~ !3~1:_U_R_N_T!ILSJ:.q_RJLO_N_\/Y1Jlj YQl,113 !:'~'(.tv!E.!'JJ _______________________________ _

                                                                                                                   Date: 12/14/2017
  Desanka Filipovic,
  Please be advised that we can offer youi the opportunity to resolve this account for less than the current
  balance due. We can resolve this account in the amount of $184.93, which must be received on or
  before 01/05/2018.
  This offer will be valid until 01/05/2018, Mter which this offer may expire. Should you wish to resolve this
  account for less than the current balanc~ after this date, please contact our office to discuss alternative
  arrangements. We are not obligated to renew this current offer.
  There may be tax consequences as a result of a settlement. Please consult a tax professional if you
  have questions or want advice about an~ potential tax consequences.
_ We offer an on-line correspondence service that will reduce paper consumption and may improve your
  customer experience. Please visit www.mercantilesolutions.com to access your account information or
  make payment(s) on-line.
  Sincerely,
  Shawn Martin
  Phone Number: 1-888-481-4348
  Interest and/or fees will not accrue on your account.
  Calls to or from this company may be monitored or recorded.
  This is an attempt to collect a debt and any information obtained will be used for that purpose. This is a
  communication from a debt collector.



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Case 2:18-cv-00847-MSG Document 1 Filed 02/26/18 Page 10 of 11




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                                                                Case 2:18-cv-00847-MSG Document 1 Filed 02/26/18 Page 11 of 11




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